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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISON


MRLED INC.,                                              )
                                                         )
                 Petitioner,                             )
                                                         )
                       vs.                               )
                                                         )
SOUND BRIDGE ACOUSTIC LABS, INC.,                        )      Case No.______________
                                                         )
                 Respondent.                             )




                  MOTION TO CONFIRM FOREIGN ARBITRATION AWARD

       PLEASE TAKE NOTICE that on August 26, 2024 at 10:00 AM, or as soon thereafter

as counsel may be heard, Petitioner MRLED INC. by and through their undersigned counsel,

will move before the Court, at the United States District Court for the Northern District of Texas,

1100 Commerce Street, Room 1452, Dallas, TX 75242, for entry of an Order granting

Petitioner’s motion to confirm foreign arbitration award and to enter judgment thereupon.

       PLEASE TAKE FURTHER NOTICE that in support of said Motion, Petitioner will

rely upon the Application to Confirm Foreign Arbitration Award, exhibits, and memorandum of

law submitted herewith.

Dated: July 26, 2024




                                                      Respectfully submitted,

                                                      MAZZOLA LINDSTROM, LLP




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